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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                  PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                   Case # 5:17cr27-014

JOHN ELLIOTT
                                                       USM # 25769-017

                                                       Defendant’s Attorney:
                                                       Jonathan W. Dingus (Appointed)
                                                       527 Jenks Avenue
                                                       Panama City, Florida 32405
___________________________________

                               JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to count 1 of the indictment on November 30, 2017. Accordingly,
IT IS ORDERED that the defendant is adjudged guilty of such count which involves the following
offense:


            TITLE/SECTION                NATURE OF             DATE OFFENSE              COUNT
               NUMBER                     OFFENSE               CONCLUDED



 21 U.S.C. §§ 841(a)(1),             Conspiracy to               July 19, 2017              1
 841(b)(1)(B)(i)                     Distribute and
                                     Possess with Intent
 and 846                             to Distribute Heroin

The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall notify the United States attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                       Date of Imposition of Sentence:
                                       March 29, 2018

                                       s/Robert L. Hinkle
                                       United States District Judge
                                       March 31, 2018



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                                    PROBATION

         You are hereby sentenced to probation for a term of 3 years:

                           MANDATORY CONDITIONS
    1. You must not commit another federal, state or local crime.
    2. You must not unlawfully possess a controlled substance.
    3. You must refrain from any unlawful use of a controlled substance. You must
       submit to one drug test within 15 days of placement on probation and at least
       two periodic drug tests thereafter, as determined by the court.
    4. You must cooperate in the collection of DNA as directed by the probation
       officer. (check if applicable)

You must comply with the standard conditions that have been adopted by this court
as well as with any other conditions on the attached page.


       For offenses committed on or after September 13, 1994: The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from placement on probation and
at least two periodic drug tests thereafter, as directed by the probation officer.




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                        STANDARD CONDITIONS OF PROBATION

       As part of your probation, you must comply with the following standard
conditions of supervision. These conditions are imposed because they establish the
basic expectations for your behavior while on supervision and identify the
minimum tools needed by probation officers to keep informed, report to the court
about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where
you are authorized to reside within 72 hours of the time you were sentenced, unless
the probation officer instructs you to report to a different probation office or within
a different time frame.
2.     After initially reporting to the probation office, you will receive instructions
from the court or the probation officer about how and when you must report to the
probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are
authorized to reside without first getting permission from the court or the probation
officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to
change where you live or anything about your living arrangements (such as the
people you live with), you must notify the probation officer at least 10 days before
the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours
of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home
or elsewhere, and you must permit the probation officer to take any items
prohibited by the conditions of your supervision that he or she observes in plain
view.
7.     You must work full time (at least 30 hours per week) at a lawful type of
employment, unless the probation officer excuses you from doing so. If you do not
have full-time employment you must try to find full-time employment, unless the
probation officer excuses you from doing so. If you plan to change where you
work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged
in criminal activity. If you know someone has been convicted of a felony, you

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must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must
notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition,
destructive device, or dangerous weapon (i.e., anything that was designed, or was
modified for, the specific purpose of causing bodily injury or death to another
person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to
act as a confidential human source or informant without first getting the permission
of the court.
12. If the probation officer determines that you pose a risk to another person
(including an organization), the probation officer may require you to notify the
person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about
the risk.
13. You must follow the instructions of the probation officer related to the
conditions of supervision.


U.S. PROBATION OFFICE USE ONLY

A U.S. probation officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant’s Signature_______________________              Date ______________________




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                        ADDITIONAL CONDITIONS OF PROBATOIN


         The defendant shall also comply with the following additional conditions of probation:



                     1. The defendant must submit to testing to determine whether he
              is using drugs or alcohol.

                    2. The defendant must successfully participate in substance-abuse
              treatment consisting of an initial evaluation—by a probation officer or
              outside provider—and any further appropriate treatment. The treatment
              may include cognitive behavioral therapy.

                    3. The defendant must provide the probation officer all requested
              financial information, business or personal.

                     4. The defendant must cooperate with the probation department
              and the appropriate state agency on child-support matters and must make
              all required child-support payments.

                    5. The defendant must submit to a search of his person, property,
              residence, office, vehicle, or surroundings, at the request of an officer
              who has reasonable suspicion that the search will turn up evidence of a
              crime or of a violation of a condition of supervision.




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                            CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

             ASSESSMENT                 JVTA*                  FINE            RESTITUTION
                                     ASSESSMENT
                  $100.00                -0-                    -0-                  -0-

                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
is due as follows: immediately.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.




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